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            IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                  8:10CR158
                              )
          v.                  )
                              )
THOMAS DASHER,                )                       ORDER
                              )
               Defendant.     )
______________________________)


           This matter is before the Court on defendant’s motion

to seal (Filing No. 616).      The Court finds the motion should be

granted.   Accordingly,

           IT IS ORDERED that defendant’s motion to seal is

granted.   His motion to continue the Rule 35 hearing shall remain

sealed pending further order of the Court.

           DATED this 22nd day of January, 2013.

                                    BY THE COURT:

                                    /s/ Lyle E. Strom
                                    _____________________________
                                    LYLE E. STROM, Senior Judge
                                    United States District Court
